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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Civil Action No. 11-cv-02149-PAB-CBS

 KELLY NUANES,

       Plaintiff,

 v.

 VALENTINE & KEBARTAS, INC., a Massachusetts corporation,

       Defendant.


                                     MINUTE ORDER

 Entered by Judge Philip A. Brimmer

        This matter is before the Court on the plaintiff’s Notice of Dismissal With
 Prejudice [Docket No. 7]. Plaintiff requests the entry of an order dismissing the case
 with prejudice. The notice, however, complies with Federal Rule of Civil Procedure
 41(a)(1)(A)(i), which provides that the “plaintiff may dismiss an action without a court
 order by filing: . . . a notice of dismissal before the opposing party serves either an
 answer or a motion for summary judgment.” (emphasis added) Furthermore, “[u]nless
 the notice or stipulation states otherwise, the dismissal is without prejudice.” Fed. R.
 Civ. P. 41(a)(1)(B) (emphasis added). Therefore, the case was dismissed with
 prejudice as of the entry of the Notice of Dismissal With Prejudice. No Court order is
 necessary.

       DATED October 25, 2011.
